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                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF VIRGINIA
                                  NEWPORT NEWS DIVISION

  In re:                                    )
                                            )               Case No. 07-51040
                                            )
  PETITION OF THE OFFICIAL                  )
  RECEIVER AND TRUSTEE OF THE               )
  PROPERTY OF JONATHAN LOY,                 )               Chapter 15
                                            )               (Voluntary)
                                            )
        A Bankrupt in a Foreign Proceeding. )
                                            )

                    PETITION FOR RECOGNITION OF FOREIGN MAIN
                PROCEEDING PURSUANT TO SECTIONS 1515 AND 1517 OF
                 THE BANKRUPTCY CODE AND RELIEF IN AID THEREOF
                  AND MEMORANDUM OF LAW AND BRIEF IN SUPPORT

           Jeremiah Anthony O’Sullivan (“O’Sullivan” or the “Trustee”), the official receiver

  and trustee of the property of Jonathan A. Loy, the above captioned debtor (the “Debtor”),

  an individual that is the subject of a foreign bankruptcy commenced in the Exeter County

  Court in Devon, England (“English Court”) (the “English Administration”), by and through

  its undersigned United States counsel, respectfully files this Petition (the “Petition”) under

  Chapter 15 of Title 11 of the United States Code (the “Bankruptcy Code”), for entry of an

  order recognizing the Foreign Proceeding and seeking authority to protect and administer

  the property of the Debtor located within the territorial jurisdiction of the United States for

  the benefit of all of the Debtor’s creditors and to secure information necessary to preserve

  all such property. In support thereof, the Trustee respectfully states as follows:




  ______________________________________________________________________________________
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  Receiver for the Bankrupt Jonathan A. Loy
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                                   PRELIMINARY STATEMENT

            The Petitioner commences this Chapter 15 case pursuant to sections 1504 and

  1509 of the Bankruptcy Code by filing this Petition seeking the recognition of a foreign

  proceeding that is currently pending in the United Kingdom pursuant to section 1515 of

  the Bankruptcy Code, together with the certifications, statements, and lists as required

  under section 1515 of the Bankruptcy Code and Rule 1007(a)(4) of the Federal Rules of

  Bankruptcy Procedure (the “Bankruptcy Rules”). By this Petition, the Petitioner seeks

  entry of an order (i) granting the recognition of the English Administration as a foreign

  main proceeding under section 1517(a) and (b)(1) of the Bankruptcy Code; or in the

  alternative, a foreign nonmain proceeding under section 1517(a) and (b)(2) of the

  Bankruptcy Code; (ii) granting it relief under sections 1519, 1520, and 1521 of the

  Bankruptcy Code; and (iii) granting it such other and further relief that may aid the

  Petitioner in the English Administration pending in England all as more fully described

  herein.

                                   JURISDICTION AND VENUE

         1.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

  and 1334, and section 1501 of the Bankruptcy Code.

         2.        This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(P).

         3.        Venue of this proceeding is proper in this judicial district pursuant to 28

  U.S.C. § 1410.

                                    FACTUAL BACKGROUND

  A.        Administration of Jonathan Loy

         4.        In 2003, the Debtor made his Proposal for a Voluntary Arrangement with

  Creditors Pursuant to Part VIII of the Insolvency Act 1986 (the “IVA”). A copy of the IVA is




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  attached hereto as Exhibit A.

         5.        At the time of the IVA, the Debtor was a resident of the United Kingdom

  and resided at Crosses Farm, Thorverton, Exeter, Devon, England. See IVA, p. 1.

         6.        As set forth in the IVA, the Debtor proposed, inter alia, to sell his property

  located in France (the “French Property”) with the proceeds of the sale to go satisfy the

  obligations of his creditors. The Debtor also proposed to retain certain property in the

  United States.

         7.        On July 31, 2003, at the meeting of the creditors, the IVA was approved,

  subject to modifications as confirmed by the Chairman’s Report of July 31, 2003, and

  Christopher Mackenzie-Thorpe was appointed as Supervisor of the Arrangement. In

  October 2004, Mr. O’Sullivan replaced Mr. Mackenzie-Thorpe as Supervisor of the

  Arrangement.

         8.        On March 31, 2005, the Debtor informed the Trustee that he was unable to

  comply with the terms of the IVA, and had accumulated additional debt in the United

  Kingdom that was not included in the IVA and he had no prospects of paying his debt

  obligations. A copy of the March 31, 2005 letter is attached hereto as Exhibit B.

         9.        On April 14, 2005, the Trustee advised the Debtor that based upon the

  March 31, 2005 letter, the Trustee would likely file with the court a petition for bankruptcy.

  In addition, the Trustee requested an explanation regarding apparent misleading

  statements in the IVA. A copy of the April 14, 2005 letter is attached hereto as Exhibit C.

         10.       On May 18, 2005, the Debtor emailed the Trustee in response to his April

  14, 2005 letter. A copy of the May 18, 2005 email is attached hereto as Exhibit D.

         11.       On March 10, 2006, the Trustee filed a Default Petition with the English

  Court that the Debtor be declared a bankrupt (the “Default Petition”). A copy of the




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  Default Petition is attached hereto as Exhibit E. In support of the Default Petition, the

  Trustee stated that the Debtor had defaulted on his obligations under the IVA by failing to

  sell the French Property, which had diluted in value due to the Debtor’s inaction, and that

  the Debtor was unwilling or unable to rectify the breach and comply with the terms of the

  IVA.

         12.      On August 17, 2006, the English Court ordered that the Debtor be

  adjudged bankrupt and Mr. O’Sullivan be appointed Trustee (the “Bankruptcy Order”). A

  copy of the Bankruptcy Order is attached hereto as Exhibit F.

  B.      Chapter 15 Petition

         13.      The Debtor owns an undeveloped waterfront 3.78 acre parcel of real

  property located at 200 Creekview Lane in Hampton, Virginia (the “Creekview Property”).

  On February 1, 2007, the Trustee, by counsel, filed a lis pendens in the Circuit Court for

  the City of Hampton, Virginia asserting his lawful rights in the Creekview Property as a

  result of the English Court’s appointment of him as Trustee over the assets of the Debtor’s

  estate. A copy of the lis pendens is attached hereto as Exhibit G. The Creekview

  Property has a tax assessed value of at least $468,900.00 and an appraised value of

  $535,000.00. An appraisal of the Creekview Property is attached hereto as Exhibit H.1

         14.      Because the Trustee has been unable to negotiate a successful resolution

  of amounts owed by Loy to the Trustee under the English Administration, the Trustee files

  this Chapter 15 Petition to have the English Administration recognized as a foreign main

  proceeding (or, in the alternative, a foreign nonmain proceeding) pursuant to section 1515

  of the Bankruptcy Court in order to seek the United States Bankruptcy Court’s assistance

  in administering the assets of the Debtor’s estate, including the Creekview Property, for


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    Upon information and belief, there is significant equity in the Creekview Property above any
  consensual lien debt.




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  the benefit of the Debtor’s creditors.

                                     RELIEF REQUESTED

         15.     Pursuant to section 1504 of the Bankruptcy Code, a foreign representative

  may commence a Chapter 15 case by filing a petition for recognition under section 1515

  of the Bankruptcy Code. 11 U.S.C. §§ 1504 and 1515(a).

         16.     Pursuant to section 1515 of the Bankruptcy Code, a foreign representative

  must submit the petition for recognition accompanied by (i) proof of commencement of a

  foreign proceeding and appointment of a foreign representative; and (ii) a statement

  identifying all other foreign proceedings concerning the debtor. 11 U.S.C. § 1515(b).

         17.     Pursuant to section 1517 of the Bankruptcy Code, if the requirements of

  section 1515 of the Bankruptcy Code are satisfied, and the Court determines that the

  foreign proceeding is a “foreign main proceeding or foreign nonmain proceeding” under

  section 1502 of the Bankruptcy Code and the foreign representative is a person or body,

  the court shall enter an order recognizing the petitioner as a foreign representative under

  Chapter 15 of the Bankruptcy Code. 11 U.S.C. § 1517(a).

  A.     The English Administration is a Foreign Main Proceeding

         18.     Section 101(23) of the Bankruptcy Code defines a “foreign proceeding” as:

                 A collective judicial or administrative proceeding in a foreign
                 country, including an interim proceeding, under a law
                 relating to insolvency or adjustment of debt in which
                 proceeding the assets and affairs of the debtor are subject
                 to control or supervision by a foreign court, for the purpose
                 of reorganization or liquidation.

  11 U.S.C. 101(23).

         19.     The English Administration constitutes a collective judicial proceeding in a

  foreign country relating to the reorganization or liquidation of the Debtor, Jonathan A. Loy.

  The Bankruptcy Order was issued pursuant to the Insolvency Act of 1986 – the law of




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  England governing insolvency or adjustment of debts in which the assets and affairs of a

  debtor is subject to control or supervision by the English Court, for the purpose of

  reorganization or liquidation of the Debtor. Accordingly, this Chapter 15 case concerns a

  foreign proceeding within the meaning of section 101(23) of the Bankruptcy Code.

         20.     Liquidation, administration, or “winding up” proceedings commenced

  pursuant to British law, as well as proceedings in jurisdictions with insolvency laws derived

  from British law, are uniformly recognized as foreign proceedings. See In re Laurence,

  Scott & Electromotors Ltd., Case No. 07-12017 (Bankr. S.D.N.Y. 2007 (England); In re

  Schefenacker PLC, Case No. 07-11482 (Bankr. S.D.N.Y. 2007) (England); In re TXU

  Europe Ltd., Case No. 04-11335 (Bankr. S.D.N.Y. 2005)(England); In re Brierly, 145 B.R.

  151 (Bankr. S.D.N.Y. 1992)(England); In re Axoma Int’l Credit & Commerce, Ltd., 88 B.R.

  597 (Bankr. S.D.N.Y. 1988)(Hong Kong); In re Kingscroft Ins. Co., 150 B.R. 77 (Bankr.

  S.D. Fla. 1992)(Bermuda). Accordingly, the English Administration is without question

  foreign main proceeding under section 1517 of the Bankruptcy Code.

  B.     This Chapter 15 Case Was Commenced by a Foreign Representative

         21.     Section 101(24) of the Bankruptcy Code defines a “foreign representative”

  as:

                 A person or body, including a person or body appointed on
                 an interim basis, authorized in a foreign proceeding to
                 administer the reorganization or the liquidation of the
                 debtor’s assets and affairs or to act as a representative of
                 such foreign proceeding.

  11 U.S.C. §101(24).

         22.     In the English Administration, the English Court appointed O’Sullivan as

  trustee of the Debtor’s estate to oversee the administration of the assets for the benefit of

  the Debtor’s creditors.




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         23.     Accordingly, the Trustee is a foreign representative within the meaning of

  11 U.S.C. § 101(24) and 1515.

  C.     Further Relief

         24.     In addition to the recognition of the English Administration as a foreign

  main proceeding, the Trustee seeks other and further relief authorized and permitted

  pursuant to Chapter 15 of the Bankruptcy Code. This relief is necessary to assist the

  Trustee in protecting and maximizing the value of the assets available to satisfy claims of

  creditors of the Debtor, and to otherwise ensure the fair, effective, and liquidation of the

  assets of the Debtor.

         a.      The Petitioners are Entitled to Relief under Section 1520 of the
                 Bankruptcy Code, Without Limitation
         25.     Upon recognition of a foreign proceeding that is a foreign main proceeding,

  certain express relief is automatically granted as a matter of right. In particular, upon this

  Court’s recognition of a foreign main proceeding, section 1520(a)(1) of the Bankruptcy

  Code requires that the automatic stay provisions under section 362 of the Bankruptcy

  Code apply to protect the assets of the Debtor from commencement or continuation of any

  claim as well as any act to take possession of the Debtor’s property. See J.A. Jones

  Construction Group, 333 B.R. 637, 638 (E.D.N.Y. 2005) (stating that once “a foreign

  bankruptcy proceeding is recognized, a wide range of relief under American bankruptcy

  law immediately becomes applicable, including the automatic stay provision in Section

  362 of the [Bankruptcy] Code.”). The Trustee submits that it is entitled to the relief set forth

  in section 1520(a) of the Bankruptcy Code, without limitation.

         b.      The Relief Requested under Section 1521 is Necessary and
                 Appropriate
         26.     Upon this Court’s recognition of the proceeding before English Court as a

  foreign proceeding, whether main or nonmain, this Court may, at the request of the




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  Trustee, grant, with certain exceptions, “any appropriate relief” provided that this Court

  determines that doing so is necessary to effectuate the purpose of Chapter 15 and to

  protect the assets of the Debtor or the interests of the Debtor’s creditors. 11 U.S.C. §

  1521(a). The Court, however, may only grant such relief if the interests of creditors and

  other interested entities are sufficiently protected. 11 U.S.C. § 1522.

         27.     In addition to the relief provided as a matter of right under section 1520 of

  the Bankruptcy Code, the Trustee requests certain relief under section 1521 that is

  required to assist it in ensuring the effective implementation of the English Administration

  and the maximum recovery for the Debtor’s creditors. Without the relief provided for in

  section 1521(a), the English Administration would neither be able to ensure the fair and

  efficient administration of the Debtor’s estate in a manner that protects the interests of all

  of the Debtor’s creditors, nor protect and maximize the value of the Debtor’s assets. Such

  relief is necessary to effectuate the purpose of Chapter 15.

         28.     Accordingly, the Trustee requests that this Court grant it the additional

  relief authorized by section 1521 including, without limitation:

                 (i)     staying the commencement or continuation of any action or

                 proceeding concerning the assets, rights, obligations or liabilities of the

                 Debtor, including any action or threatened proceeding by Mr. Loy to

                 remove the lis pendens to the extent not stayed under section 1520(a) of

                 the Bankruptcy Code;

                 (ii)    staying execution against the assets of the Debtor to the extent not

                 stayed under section 1520(a) of the Bankruptcy Code;

                 (iii)   suspending the right to transfer or otherwise dispose of assets of

                 the Debtor to the extent this right has not been suspended under section




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                  1520(a) of the Bankruptcy Code;

                  (iv)    providing for the examination of witnesses, the taking of evidence,

                  the production of documents, or the delivery of information concerning the

                  assets, affairs, rights, obligations or liabilities of the Debtor, and finding that

                  such information is required in the English Administration under the law of

                  the United States;

                  (v)     entrusting the administration or realization of all or part of the assets

                  of the Debtor within the territorial jurisdiction of the United States to the

                  Trustee;

                  (vi)    granting comity to and giving frill force and effect to the English

                  Administration; and

                  (vii) awarding the Trustee such other and further relief as this Court deems

                  just and proper.

          c.      The Relief Requested under Section 1519 is Necessary and
                  Appropriate
         29.      The Trustee further requests interim relief, in an abundance of caution, to

  preserve the Debtor’s assets in the United States for the benefit of all creditors. Interim

  relief is necessary because under Chapter 15, the automatic stay may not commence

  upon filing. Rather, the stay may only commences when the Court rules on a Chapter 15

  petition and enters an Order granting recognition of a foreign main proceeding. See 11

  U.S.C. § 1520(a)(l) (providing that the automatic stay under section 362 applies to all of

  the debtor’s property within the territorial jurisdiction of the United States).

         30.      Where necessary to protect the Debtor’s assets or the creditors’ interests

  while a petition for recognition is pending, a court may grant, among other things, the

  following relief on a provisional basis:




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                 • staying execution against the debtor’s assets;
                 • entrusting the administration or realization of all or part of the debtor’s
                 assets located in the United States to the foreign representative or in other
                 person authorized by the court, including an examiner, in order to protect
                 and preserve the value of assets that, by their nature or because of their
                 circumstances, are perishable, susceptible to devaluation or otherwise in
                 jeopardy;
                 • suspending the right to transfer, encumber or otherwise dispose of any
                 assets of the debtor to the extent this right has not been suspended under
                 section 1520(a); and,
                 • providing for the examination of witness, the taking of evidence or the
                 delivery of information concerning the debtor’s assets, affairs, rights,
                 obligations or liabilities.


  11 U.S.C. § 1519(a), § 1521(3) and (4) (incorporated by 11 U.S.C. §1519(a)(3).

         31.     Therefore, this Court has jurisdiction under section 1519(a) of the

  Bankruptcy Code to order the foregoing relief in furtherance of the English Administration.

         32.     Provisional injunctive relief is appropriate “to prevent individual American

  creditors from arrogating to themselves property belonging to the creditors as a group.”

  See In re Banco Nacional de Obras v. Servicios Publico, S. N. C., 91 B.R. 661, 664

  (Bankr. S.D.N.Y. 1988) (granting such an injunction); see also In re Bird, 222 B.R. 229,

  233 (Bankr. S.D.N.Y. 1998) (finding that the purpose of filing under former section 304

  was to prevent local creditors from dismembering assets located in the United States).

  Injunctive relief in the form of a stay also permits a debtor’s affairs to be centralized in a

  single forum to maximize the creditors’ recoveries. See Bennett v. Manufacturers &

  Traders Trust Co., 2000 U.S. Dist. LEXIS 15316 (N.D.N.Y. 2000) (citing Fidelity Mort

  Investors v. Camelia Builders, Inc., 550 F.2d 47, 55 (2d Cir. 1976)).

         33.     Upon information and belief, the Debtor is about to encumber the

  Creekview Property with a construction loan to develop the property.

         34.     Upon information and belief, the Debtor is also about to file a Bill of




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  Complaint to remove the Trustee’s lis pendens for the purpose of allowing him to further

  encumber the Creekview Property with additional debt. A copy of the email from Leo J.

  Perk and draft Bill of Complaint are attached hereto as Exhibit I.

         35.     In this case, the provisional injunctive relief that the Trustee requests is

  necessary to preserve the Debtor’s estate and permit the liquidation of the Debtor’s assets

  under the auspices of applicable British insolvency law for the benefit of all creditors.

         36.     A proposed interim order granting the Trustee interim relief is attached

  hereto as Exhibit J.

                                         CONCLUSION

                 Wherefore, the Trustee respectfully requests that this Court enter orders,

  substantially in the form of the Proposed Interim Order attached hereto as Exhibit J

  granting the Trustee interim relief pursuant to section 1519 of the Bankruptcy Code and

  substantially in the form of the Proposed Order attached hereto as Exhibit K (i) granting (ii)

  granting the recognition of the English Administration as a foreign main proceeding under

  section 1517(a) and (b)(1) of the Bankruptcy Code; or in the alternative, a foreign nonmain

  proceeding under section 1517(a) and (b)(2) of the Bankruptcy Code; (ii) granting it relief

  under sections 1519, 1520, 1521 of the Bankruptcy Code; and (iii) granting it such other

  and further relief that may aid the Petitioner in the English Administration pending in

  England.




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  Dated: Norfolk, Virginia                 Respectfully Submitted,
         October 28, 2007

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